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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA

__________________________________
In re: Equifax Inc. Customer Data
Security Breach Litigation             MDL No. 17-2800-TWT
__________________________________
                                       CONSUMER ACTIONS
THEODORE H. FRANK and
DAVID R. WATKINS,                      Chief Judge Thomas W. Thrash, Jr.

    Objectors.


  FRANK AND WATKINS’ OBJECTION TO SETTLEMENT AND TO
             MOTION FOR ATTORNEYS’ FEES


     This settlement flunks basic Rule 23 class-certification and 23(e)

fairness requirements designed to protect absent class members because it

creates a single class despite fundamental intraclass conflicts between

subgroups: some class members have valuable statutory-damages claims

while others have none, yet all receive the same benefits under the

settlement.   Such   conflicts   require   subclassing   and   separate   legal

representation. Further, class counsel unfairly structured the settlement and

claims process to deter legitimate objections and throttle monetary claims.
The Court should deny approval of the settlement, but at a minimum, class

counsel’s fee request should be reduced because it exceeds a reasonable

percentage in a megafund case and overestimates their minimal risk. Class
counsel’s inflated lodestar includes time from 60 law firms but no billing



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records to permit objectors to determine the extent of the duplication.

I.    Frank and Watkins are class members and intend to appear
      through non-profit counsel at the fairness hearing.

      Objectors Theodore H. Frank and David R. Watkins (collectively
“Frank”) are members of the settlement class. Frank’s mailing address is

1629 K Street NW, Suite 300, Washington, D.C. 20006, and he was a citizen

of Washington, D.C. at the time of the data breach. See Declaration of

Theodore H. Frank (attached at Ex. 1) ¶ 7. Watkins’s mailing address is 2769
Sommet Drive, Salt Lake City, Utah 84117. See Declaration of David R.

Watkins (attached at Ex. 2) ¶ 2. Both Frank and Watkins verified on the

settlement website that their information was impacted and both submitted a
claim form. Frank Decl. ¶ 5; Watkins Decl. ¶ 5. Frank and Watkins are thus

class members. Frank’s objection applies to the entire settlement class, and

also specifically to the members of the settlement class with state-law
statutory damages claims. See Watkins Decl. ¶ 3; Frank Decl. ¶ 3.

      Frank’s counsel, Melissa A. Holyoak of the non-profit 501(c)(3)

Hamilton Lincoln Law Institute (“HLLI”) will appear at the Fairness
Hearing, currently scheduled for December 19, 2019, at 10:00 a.m. Frank

reserves the right to cross-examine any witnesses put forward in support of

the settlement. Frank intends to rely on this Objection and accompanying
declarations at the fairness hearing, and reserves the right to rely on any

evidence submitted on the record; he joins any objections not inconsistent
with this one. Frank objects to any provisions of the settlement purporting to



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limit appellate rights of class members or create new burdens beyond those
imposed in Federal Rules of Appellate Procedure 7 or 8.

      The Center for Class Action Fairness (“CCAF”), a program housed
within HLLI, represents class members pro bono against unfair class-action
procedures and settlements, and has won hundreds of millions of dollars for

class members. Frank Decl. ¶¶ 11-13. As commentators recognize, CCAF has
“develop[ed] the expertise to spot problematic settlement provisions and

attorneys’ fees.” Elizabeth Chamblee Burch, Publicly Funded Objectors, 19

THEORETICAL INQUIRIES      IN   LAW 47, 55-57 & n.37 (2018); see also, e.g.,
Pearson v. NBTY, Inc., 772 F.3d 778, 787 (7th Cir. 2014) (praising Frank).

      The Preliminary Approval Order (Dkt. 742, “PAO”) in this case requires

objectors to identify all class action settlements objected to by the objector in
the previous five years. PAO at 10-11. Watkins has not previously objected to

a class action settlement. See Watkins Decl. ¶ 9. Frank, however, is CCAF’s

Director of Litigation and has objected or assisted in objections to dozens of
settlements. See Frank Decl. ¶ 16. The attached declaration of Frank satisfies
this listing requirement. See id. Complying with the listing requirement took

several hours and was unduly burdensome, particularly because the
requested information is publicly available. See infra, Section III.A.
      The PAO also requires detailed information regarding objectors’

counsel who intend to seek compensation. See PAO at 11-12. CCAF does not
consider the possibility of fees when deciding whether to object to a class
action settlement. Frank Decl. ¶ 35. In other cases, CCAF has asked the


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court for a fraction of the fees to which it would be legally entitled based on
the benefit CCAF achieved for the class. See id. ¶ 36. Thus, whether CCAF

seeks fees in this case depends on what it achieves for the class. Based on the
possibility that CCAF will seek fees, however, the attached declaration of the
undersigned Melissa A. Holyoak satisfies this burdensome request for

information, most of which is publicly available. See Declaration of Melissa A.
Holyoak ¶¶ 5-20 (attached at Exhibit 3). Further, to preempt any possibility

of a false accusation of objecting in bad faith and seeking to extort class

counsel, Watkins and Frank are willing to stipulate to an injunction
prohibiting them from accepting compensation in exchange for the settlement

of this objection. See Frank Decl. ¶ 19; Watkins Decl. ¶¶ 10-11.

      Finally, as required by the PAO, Frank and Watkins state that they are
available for deposition in Salt Lake City, Utah on November 20, 21, 22, and

December 4. See Watkins Decl. ¶ 8; Frank Decl. ¶ 8. Frank and Watkins

object to the depositions, see Section III.A, but agree to make themselves
available upon an agreement of reciprocal depositions of Professor Klonoff
and a sample of class representatives identified by Frank and Watkins, and

upon receiving a request complying with Fed. R. Civ. P. 26(g)(1). Frank and
Watkins further reserve all rights under Fed. R. Civ. P. 26(g)(3) and 45.

II.   The settlement class cannot be certified because intraclass
      conflicts preclude Rule 23(a)(4) adequacy of representation and
      flunk settlement fairness under Rule 23(e)(2)(D).
      “Class-action settlements are different from other settlements.” In re
Dry Max Pampers Litig., 724 F.3d 713, 715 (6th Cir. 2013). “[T]he district


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court cannot rely on the adversarial process to protect the interests of the
persons most affected by the litigation—namely, the class.” Id. at 718.

Instead, “[c]areful scrutiny by the court is necessary to guard against
settlements that may benefit the class representatives or their attorneys at
the expense of the absent class members.” Holmes v. Cont’l Can Co., 706 F.2d

1144, 1147 (11th Cir. 1983) (quotation omitted). “[T]he district judge has a
heavy duty to ensure that any settlement is ‘fair, reasonable, and adequate’

and that the fee awarded plaintiffs’ counsel is entirely appropriate.”

Piambino v. Bailey, 757 F.2d 1112, 1139 (11th Cir. 1985) (“Piambino II”).
This duty is “akin to the high duty of care that the law requires of

fiduciaries.” Figueroa v. Sharper Image Corp., 517 F. Supp. 2d 1292, 1320

(S.D. Fla. 2007) (quoting Synfuel Techs., Inc. v. DHL Express (USA), Inc., 463
F.3d 646, 652 (7th Cir. 2006)).

      This judicial duty to vouchsafe the rights of the absent plaintiffs

extends to the class certification decision, obliging district courts to conduct a
“rigorous analysis” to ensure compliance with Rule 23 certification
prerequisites. Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011).

The burden of proving these prerequisites resides with certification
proponents. Valley Drug Co. v. Geneva Pharms., Inc., 350 F.3d 1181, 1187
(11th Cir. 2003). Aside from trial manageability concerns, that burden is no

lighter for a settlement-only class certification. Rule 23(a) and (b)(3)
requirements are “designed to protect absentees by blocking unwarranted or
overbroad class definition” and “demand undiluted, even heightened,


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attention in the settlement context.” Amchem Prods., Inc. v. Windsor, 521
U.S. 591, 620 (1997); accord Pampers, 724 F.3d at 721.

      A court cannot certify a class action unless it determines that the class
representatives “will fairly and adequately protect the interests of the class.”
Fed. R. Civ. P. 23(a)(4). In order to proceed as a class action, “a class

representative must be part of the class and possess the same interest and
suffer the same injury as the class members.” Dukes, 131 S. Ct. at 2550

(cleaned up). The purpose of Rule 23(a)(4) is to assure that the absent class

members’ interests are represented in the litigation so as to make it fair to
bind them to the release and settlement of the action. Amchem, 521 U.S. at

621. The Rule 23(a)(4) adequacy inquiry “serves to uncover conflicts of

interest between named parties and the class they seek to represent.” Id. at
625. Here, Rule 23(a)(4) adequacy is lacking because there are fundamental

intraclass conflicts regarding statutory-damages claims that require separate

subclassing and separate counsel.
      The Settlement here ccontemplates a single settlement class: “[t]he
approximately 147 million U.S. consumers identified by Equifax whose

personal information was compromised as a result of the cyberattack and
data breach announced by Equifax on September 7, 2017.” PAO at 2. This
Court found that plaintiffs could proceed with data breach claims from 25

states, the District of Columbia, Puerto Rico and the Virgin Islands, and
consumer-protection statutes from 33 states, the District of Columbia and the
Virgin Islands. Order Granting Motion to Dismiss in Part, Dkt. 540 at 63-65,


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69-75. Rule 23(a)(4) requires class members with different statutory claims to
be subclassed with separate representation so that a group of class members’

claims are not favored at the expense of another’s.
        In re Literary Works is directly on point. 654 F.3d 242 (2d Cir. 2011). In
that case, class counsel attempted to negotiate compensation from Google for

three separate “categories” of class members (labeled A, B, and C) in a single
settlement class. Id. at 246. Each category had a different statutory claim

and each received a different damages formula. Id. There was no dispute that

each category had differently valued claims, nor that the compensation for
the different categories was unequal. Instead, the problem was that the class

representatives      were    generally    representing     all      subgroups—class

representatives had claims in categories A, B, and C—but were incentivized
to favor their more exclusive category A and B claims. Id. at 251, 252 (citing

Amchem, 521 U.S. at 627). The Court found that “the interests of class

members who hold only Category C claims fundamentally conflict with
those of class members who hold Category A and B claims.” Id. at 254
(emphasis added).

        The Second Circuit explained that “[a]lthough all class members
share[d] an interest in maximizing the collective recovery, their interests
diverge[d] as to the distribution of that recovery because each category of

claim is of different strength and therefore commands a different settlement
value.” Id. The Court struck the settlement on Rule 23(a)(4) grounds: the
class    representatives    “cannot   have   had   an    interest    in   maximizing


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compensation for every category.” Id. at 252 (emphasis in original).
      Recently, the Eleventh Circuit adhered to these principles in W.

Morgan-East Lawrence Water & Sewer Auth. v. 3M Co., 737 Fed. Appx. 457
(11th Cir. 2018) (unpublished). Confronting a settlement of claims alleging
defendant manufacturers had contaminated a water supply, the court found

it impermissible to lump both water purchasers and the water authority into
a single class with unitary representation. Id. at 464-66. Purchasing class

members “asserted claims for monetary damages addressing individualized

harms such as mental anguish—claims not shared by the Water Authority.”
Id. at 464; cf. also Lyons v. Georgia-Pacific Corp. Salaried Emples. Ret. Plan,

221 F.3d 1235, 1252-1254 (11th Cir. 2000) (“We cannot expect Lyons to assert

with ‘forthrightness and vigor’ those interests of other class members that he
does not share and in which he has no stake.”).1

      Moreover, class members are entitled to both unconflicted named

representatives and unconflicted class attorneys. “Only the creation of
subclasses, and the advocacy of an attorney representing each subclass, can
ensure that the interests of that particular subgroup are in fact adequately

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        See also Dewey v. Volkswagen AG, 681 F.3d 170, 188 (3d Cir. 2012)
(finding that representative plaintiffs’ “interest in excluding other plaintiffs
from the reimbursement group” was “precisely the type of allocative conflict
of interest that exacerbated the misalignment of interests in Amchem.”);
Hesse v. Sprint Corp., 598 F.3d 581, 589 (9th Cir. 2010) (“Conflicts of interest
may arise when one group within a larger class possesses a claim that is
neither typical of the rest of the class nor shared by the class
representative.”).


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represented.” Literary Works, 654 F.3d at 252. The Second Circuit explained
why separate legal counsel is necessary to resolve an intraclass conflict:

            The rationale is simple: how can the value of any
            subgroup of claims be properly assessed without
            independent counsel pressing its most compelling
            case? It is for this reason that the participation of
            impartial mediators and institutional plaintiffs does not
            compensate for the absence of independent representation.
            Although the mediators safeguarded the negotiation
            process, and the institutional plaintiffs watched out for the
            interests of the class as a whole, no one advanced the
            strongest arguments in favor of Category C’s recovery.

654 F.3d at 253 (emphasis added); see also Ortiz v. Fibreboard Corp., 527

U.S. 815, 856 (1999) (holding that intraclass conflict “requires division into

homogeneous subclasses under Rule 23(c)(4)(B), with separate representation

to eliminate conflicting interests of counsel”); Piambino II, 757 F.2d at 1145

n.88 (11th Cir. 1985) (ordering designation of a separate subclass “with the

right to have separate counsel unbeholden to Lead Counsel”).

      This case is worse than Literary Works. Rather than just three

competing subgroups like Literary Works, this case involves dozens of
competing statutes that vary significantly in the amount of statutory

damages available. For example, the Complaint seeks damages under New

York General Business Law that permits recovery of $50 in statutory
damages. See Complaint, Dkt. 374 ¶¶ 1018-25 (citing N.Y. Gen. Bus. Law §§

349, et seq.). But the Complaint also sought statutory damages of $2,000 for
Utah class members like Objector Watkins and $1,500 for class members like

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Objector Frank from Washington, D.C. See Complaint, Dkt. 374 ¶¶ 571-583
(D.C. Code § 28-3904, et seq.), ¶¶ 1239-53 (Utah Code §§ 13-11-1, et seq.).

And, the settlement includes class members from other states where no
statutory claims are available. See, e.g., Order, Dkt. 540 at 63 (dismissing 17
of the state consumer-fraud statutory claims because statutes did not impose

liability for omission unless duty to disclose). The fact that all class members
had a mutual interest in maximizing recovery from defendant is not

sufficient. Ortiz, 527 U.S. at 857 (discrediting “common interest in securing

contested insurance funds for the payment of claims”); In re GMC Pickup
Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 797 (3d Cir. 1995).

      In Juris v. Inamed Corp., the Eleventh Circuit echoed the importance

of independent counsel when faced with such intraclass conflicts. 685 F.3d
1294, 1323 (11th Cir. 2012). Juris involved a settlement without formal

subclasses, but the court had appointed representatives “who understood that

their role was to advocate on behalf of their respective subgroups.” Id. at
1324. Further, the district court had appointed independent counsel for these
subgroups, providing the necessary structural assurances of adequacy: “even

prior to provisional certification of the class, the interests of those claimants
with unmanifested injuries were represented and given a separate seat
at the negotiation table through qualified and independent counsel.”

Id. at 1324 (emphasis added).
      Unlike Juris, the competing subgroups in this case have no separate
counsel. Notably, the Complaint refers to the Utah class members as a


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“subclass,” the District of Columbia class members as a “subclass,” as well as
subclasses for the 49 other states, Puerto Rico and Virgin Islands. Dkt. 374

¶¶ 428-1396. But class counsel abandoned any pursuit of certifying or
seeking separate counsel for those subclasses when it sought preliminary
approval of the settlement. Dkt. 739-1 at 8. Instead, the same counsel went to

the negotiating table representing class members from states with valuable
statutory-damages claims like Frank and Watkins ($1,500 and $2,000,

respectively), class members from states with low-value statutory-damages

claims (e.g., $50), and class members from states with no statutory-damages
claims. The dangers of having no separate representation2 were realized for

Frank and Watkins: without separate counsel to help press their most

compelling case, their respective subgroups could not maximize the litigation
values of their statutory claims. Instead, Frank and Watkins receive the

same relief under the settlement as other class members and still waive all of



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        There were named plaintiffs from Utah and the District of Columbia,
see Dkt. 374 at 17, 64, but nothing suggests those representatives assumed
any role “to advocate on behalf of their respective subgroups.” Juris, 685 F.3d
at 1324. Further, those class representatives, who have never been deposed,
will each receive $2,500 service awards that are not available to other class
members. Fee Request at 31-32 “[W]here representative obtain more for
themselves by settlement than they do for the class for whom they are
obligated to act as fiduciaries, serious questions are raised as to the fairness
of the settlement to the class.” Holmes v. Cont’l Can. Co., 706 F.2d 1144, 1148
(11th Cir. 1983). The class representatives have no incentive to fight for the
statutory-damages claims of the absent class members.


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their statutory-damages claims. Settlement, Dkt. 739-2 § 2.38. The statutory
damages claims have been litigated and survived a motion to dismiss; the

settlement waives them for literally nothing extra.
      For that same reason, not only is Rule 23(a)(4) adequacy not satisfied,
but the settlement is also unfair under Rule 23(e). When assessing the

fairness of a class action settlement, Rule 23(e)(2)(D) requires the district
court to consider whether the settlement “treats class members equitably

relative to each other.” This recent amendment to Rule 23 addresses concerns

whether “the apportionment of relief among class members takes appropriate
account of differences among their claims.” Advisory Committee Notes on

2018 Amendments to Rule 23. Class members like Frank and Watkins and

the tens of millions of others with live statutory damages claims should not
be bound by a settlement with these fundamental intraclass conflicts: this

settlement class requires subclassing with separate representation.

      Finally, the Rule 23(b)(3) opt-out right does not correct for these issues.
(Indeed, Amchem involved an opt-out class.) Opt-out “does not relieve the
court of its duty to safeguard the interests of the class and to withhold

approval from any settlement that creates conflicts among class members.” In
re GMC, 55 F.3d at 809; see also Day v. Persels & Assocs., LLC, 729 F.3d 1309
(11th Cir. 2013) (vacating settlement that had been approved partially based

upon ability of class members’ to opt out).




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III.   The settling parties artificially burdened the right of objection
       and throttled the number of cash claims.
       “One hallmark of a reasonable settlement agreement is that it makes
participation as easy as possible, whether class members wish to make a
claim, opt out, or object.” McClintic v. Lithia Motors, No. C11-859RAJ, 2012
WL 112211, 2012 U.S. Dist. LEXIS 3846, at *17 (W.D. Wash. Jan. 12, 2012).
Together, the hurdles imposed on objection and claims submission in this
settlement do not appropriately respect class members’ Rule 23 rights.

       A.    The threat of deposition and unduly burdensome
             requirements were devised to unnecessarily depress
             objections; class representatives should be made available
             to test adequacy.
       The PAO here has 16 separate requirements to permit an absent class
member to object, and if the objector fails to comply, she “will waive and
forfeit any and all rights [she] may have to object.” PAO at 10-12. Many of
these requirements are unduly burdensome and purposefully designed to
decrease the number of objections to the settlement.
       First, the PAO requires that any objector appearing at the Fairness
Hearing through a lawyer must identify “four dates between [11/19/2019] and
December 5, 2019 during which the objecting settlement class member is
available to be deposed by counsel for the Parties.” PAO at 10. Including this
provision unnecessarily discourages objections and courts routinely reject
such a requirement. See, e.g., Bennett v. Boyd Biloxi, LLC, No. 14-cv-0330,
2016 U.S. Dist. LEXIS 62217, at *19 n.12 (S.D. Ala. May 11, 2016) (“The
Court has difficulty imagining why such discovery would be necessary in this
case or why such a draconian sanction should be applied.”); Withers v.
eHarmony, Inc., 267 F.R.D. 316, 320 (C.D. Cal. 2010) (“[T]he party seeking

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the depositions has the burden of showing necessity and absence of any
motive to take undue advantage of the class members.”).
      But this settlement’s threat of deposition is particularly egregious
because it requires objectors to reserve four days in a two-week span around
the Thanksgiving holiday. In seeking preliminary approval, class counsel
offered no reason why such depositions were necessary. See Dkt. 739-1.
Equifax knows the identity of every class member. This threat of deposition
was designed simply to depress the number of objections and impose
additional costs on good-faith objectors.
      Frank and Watkins agree to make themselves available subject to an
agreement for reciprocal discovery of their subclass representatives and
experts Professor Klonoff and Harold T. Daniel, Jr. Class counsel described
class representatives’ participation as providing documents, but there is no
indication that any of the 96 class representatives were ever deposed. See
Plaintiffs’ Motion for Attorneys’ Fees, Expenses and Service Awards (“Fee
Request”), Dkt. 858-1 at 4, 31-32. Frank and Watkins challenge the adequacy
of the class representatives because the settlement includes subgroups with
separate statutory-damages claims that were not properly represented. See
Section II. Equifax never tested the adequacy of the representatives and at
least the Utah and D.C. representatives should be made available for
deposition by objectors.
      Second, the PAO places additional unnecessary restrictions on objectors
by requiring objectors to identify all class actions objected to by the objector
in the past five years. PAO at 10. And if the objector retains counsel who
intends to seek compensation, the objector must include his attorney’s


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experience with class actions including all class actions objected to in the past
five years, all agreements with objector, and a statement regarding whether
fees to be sought will be calculated on the basis of a lodestar, contingency, or
other method; an estimate of the amount of fees to be sought, hours spent, an
estimate of future hours and the attorneys’ hourly rate. See PAO at 11-12.
      Such requirements do not prevent bad-faith objections (and are
unnecessary given Rule 23(e)(5)(B) protections) but create an additional
hurdle for objectors to jump. “No settlement can fairly move forward with
these procedures.” Bronson v. Samsung Elecs. Am., Inc., 2019 U.S. Dist.
LEXIS 169395, 2019 WL 4738232 (N.D. Cal. Sept. 29, 2019). Courts should
avoid notice language that places “burdensome hurdles” for “free exercise of
rights, such as onerous requirements to submit a ‘satisfactory’ objection or
opt-out request.” Fed. Jud. Cent., Judges’ Class Action Notice and Claims
Process Checklist and Plain Language Guide, 3 (2010).3
      Third, an objector who has retained counsel must still sign the
objection personally. Dkt. 742 at 9. This requirement is surplus to counsel’s
Rule 11 obligations and is unduly burdensome as it places a higher standard
on objectors than other parties. “[U]nless a rule or statute specifically state
otherwise, a pleading need not be verified.” Fed. R. Civ. P. 11(a) & (b).
      Finally, when burdens deter objections, the Court loses the benefit of
valuable adversarial perspectives that objectors can bring to the evaluation of
a settlement’s fairness. See Reynolds v. Beneficial Nat’l Bank, 288 F.3d 277,



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         Available at https://www.fjc.gov/sites/default/files/2012/NotCheck.pdf
(last visited Nov. 11, 2019).


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286 (7th Cir. 2002) (“It is desirable to have as broad a range of participants in
the fairness hearing as possible because of the risk of collusion over
attorneys’ fees and the terms of settlement generally.”). The Court should
draw no inference in favor of the settlement from the number of objections,
especially given the vociferousness of the objectors that do appear. See In re
GMC, 55 F.3d at 812-13; Redman v. Radioshack Corp., 768 F.3d 622, 628 (7th
Cir. 2014) (describing it as “naïve” to infer assent from silence). Not only do
the hurdles constitute a reason to reject the settlement in this case, they
provide an added reason to discredit any argument that a low number of
objectors signals the class members’ approval of the settlement.

      B.    Realizing that class members would not receive $125 cash,
            the settling parties added additional burdens to throttle
            the number of cash claims submitted.
      The email and long form notice attached to the Settlement told
consumers: “Free Credit Monitoring or $125 Cash Payment. You can get
free credit monitoring services. Or, if you already have credit monitoring
services, you can request a $125 cash payment.” Settlement, Dkt 739-2 at
142, 266. But after the settlement website went live, millions of claims were
filed for cash compensation and it became clear that claimants could receive
nowhere near $125. Dkt. 858-1 at 16. The settling parties decided to take
“corrective action.” Id. Whatever was represented to the Court in sealed
proceedings (Dkt. 781), that corrective action included attempts to throttle
the number of cash claims.
      As covered in the New York Times, the settling parties sent a follow-up
email to claimants: “The email—which looked so spammy the F.T.C. had to
assure readers on its website that it was legitimate—said that people looking

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for a cash reward must verify they had credit monitoring in place by Oct. 15,
2019, or their claims would be denied.” Charlie Warzel, Equifax Doesn’t
Want You to Get Your $125. Here’s What You Can Do., N.Y. TIMES (Sept. 16,
2019) (emphasis added). But according to a recent FTC study, only 3% of
class members actually respond to emails regarding class action settlements.
See FTC Staff Report, Consumers and Class Actions: A Retrospective and
Analysis of Settlement Campaigns, 11 (Sept. 2019). Millions of class members
who previously submitted legitimate claims likely ignored the follow-up
emails demanding a response within a short window.
      The class notice never informed these class members that perfecting
their claim would require providing additional information. See Long Form
Notice, Dkt. 739-2 at 266; cf. Custom LED, LLC v. eBay, Inc., 2013 U.S. Dist.
LEXIS 122022, *20 (N.D. Cal. Aug. 27, 2013) (rejecting approval because
notice failed to provide “crucial information” about how to receive payment).
With no notice of this new requirement, the settling parties deny millions of
class members the settlement share they validly claimed. Cf. Pierce v. Visteon
Corp., 791 F.3d 782, 787 (7th Cir. 2015) (“it is unfathomable that the class’s
lawyer would try to sabotage the recovery of some of his own clients.”).

IV.   Even if the settlement class is certifiable, class counsel’s fee
      request should be reduced, returning the excess to the class.
      If the Court disagrees and concludes that the settlement class should
be certified, then it should still reduce class counsel’s excessive fee request.

      A.    10% is a reasonable fee percentage of this megafund.
      While class counsel improperly calculates the fee percentage, see
Section B below, even employing counsel’s methodology, the 20.36% request


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is grossly excessive because it is over twice the median percentage awarded
in megafund settlements of this size:

            In megafund cases where extraordinarily large class
            recoveries of $75-$200 million and more are recovered,
            courts most stringently weigh the economies of scale
            inherent in class actions in fixing an appropriate per cent
            recovery for reasonable fees. Accordingly, fees in the
            range of 6-10% and even lower are common in this
            large scale context.
In re Domestic Air Transp. Antitrust Litig., 148 F.R.D. 297, 351 (N.D. Ga.
1993) (emphasis added) (awarding 5.25% of $305 million common fund).
Because of economies of scale, a reasonable fee award should utilize sliding
scale percentage to prevent a windfall for plaintiffs’ attorneys at the expense
of the class. See, e.g., Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96,
122 (2d Cir. 2005). “It is generally not 150 times more difficult to prepare, try
and settle a $150 million case than it is to try a $1 million case.” In re
NASDAQ Market-Makers Antitrust Litig., 187 F.R.D. 465, 486 (S.D.N.Y.
1998).
      “The existence of a scaling effect—the fee percent decreases as class
recovery increases—is central to justifying aggregate litigation such as class
actions. Plaintiffs’ ability to aggregate into classes that reduce the percentage
of recovery devoted to fees should be a hallmark of a well-functioning class
action system.” Theodore Eisenberg & Geoffrey P. Miller, Attorney Fees and
Expenses in Class Action Settlements: 1993–2008, 7 J. EMPIRICAL LEGAL
STUD. 248, 263 (2010). Empirical research shows that in class action
settlements over $175 million, the median fee award was 10.2% and the



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mean was 12.0%. Id. at 265 tbl. 7.
      Given the limited risk involved here, awarding class counsel the
median 10% is more than fair. This case involved much less risk as
demonstrated by the over 40 applications for appointment to serve as
class counsel. See Dkts. 130-202. Had there been competitive bidding for the
lead counsel role, there is no chance that the winner would not have agreed to
a fee less than the requested 20%. That so many qualified firms sought to
take part of this case reflects the minimal risk involved. See, e.g., In re
Anthem Inc. Data Breach Litig., 2018 WL 3960068, at *27 (N.D. Cal. Aug. 17,
2018) (fact that court received 18 motions to serve as lead counsel evidenced
the lack of risk). Competitive bidding would have resulted in a much lower
billing rate to the class than the thousands of dollars an hour sought here—
and likely better recovery to the class.
      To support their fee request, class counsel relies on the declaration of
Professor Robert Klonoff who cherry-picks larger percentage awards from
megafund cases in state and mostly out-of-circuit cases. See Dkt. 858-2 at 62-
67. And rather than demonstrating special circumstances for an upward
departure, the in-circuit cases he cites support a downward departure. See
Camden I Condo. Ass’n, Inc. v. Dunkle, 946 F.2d 768, 771 (11th Cir. 1991).
For example, Klonoff cites Allapattah Servs. v. Exxon Corp., 454 F. Supp. 2d
1185 (S.D. Fla. 2006). See Dkt. 858-2 at 62-63. After fourteen years of
contentious litigation, the Allapattah plaintiffs “prevailed on every claim and
overcame every defense at trial and on appeal” with “[f]ull and complete
recovery [] achieved on behalf of the entire Class and every individual Class
Member.”454 F. Supp. 2d at 1205.


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      By contrast, the available relief here after fees and expenses is an
estimated $0.57 per class member. See Section IV.B below. The vast majority
of the class relief will be in-kind, rather than cash compensation. See Section
IV.B. Hardly an “extraordinary result” as plaintiffs claim, see Fee Request 2.
And while the settlement may be the “largest data breach settlement in
history,” that is only because of the class size. Id. at 17. The settlement is
instead a classic instance of leveraging of a large class size rather than
achieving a good value. Cf. Murray v. GMAC Corp., 434 F.3d 948, 952 (7th
Cir. 2006) (Easterbrook, J.) (finding settlement a “sellout” where class
members receive 1% of minimum statutory award). If anything, the dimes
per class member that this nuisance settlement provides directs that the fee
award should depart even further from the typical megafund cases. Cf. Il
Fornaio (Am.) Corp. v. Lazzari Fuel Co., LLC, 2015 WL 2406966, at *3 (N.D.
Cal. May 20, 2015) (finding downward departure because results were
“neither exceptional nor hard-fought”). Here, a 10% fee award would be more
than reasonable.

      B.    Class counsel’s fee should be calculated based on the
            actual results achieved by class counsel, which is
            overstated by more than $200 million.
      Class counsel seeks fees based on a $380.5 million fund, but that
overstates the results achieved for purposes of calculating the fee award by
over $200 million for several reasons. See Fee Request at 17. First, class
counsel’s fee should not be based on the $70.5 million that the FTC obtained.
As class counsel observes, the term sheet reflecting the $310 million
settlement between plaintiffs and defendant was executed in March 2019. See
Fee Request, Ex. 1 at 73. When the parties shared those terms with the FTC,

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it was the FTC that increased the fund from $310 to $380.5 million. See Fee
Request at 6. Class counsel should be paid based on the benefit they achieved
for the class, not the government agency.
      “Allowing private counsel to receive fees based on the benefits created
by public agencies would undermine the equitable principles which underlie
the concept of the common fund…” In re Prudential Ins. Co. America Sales
Practices Litig., 148 F.3d 283, 337 (3d Cir. 1998) (internal quotation omitted).
“[C]lass counsel’s compensation must be proportioned to the incremental
benefits they confer on the class, not the total benefits.” Reynolds, 288 F.3d at
286 (emphasis added); see also Swedish Hosp. Corp. v. Shalala, 1 F.3d 1261,
1272 (D.C. Cir. 1993) (same). To award fees without regard to incremental
class recovery is to misalign the interests of class counsel and its clients.
“[C]ourts need to consider the level of direct benefit provided to the class in
calculating attorneys’ fees.” In re Baby Prods. Antitrust Litig., 708 F.3d 163,
170 (3d Cir. 2013). Only the benefit created by class counsel should be
considered when calculating attorneys’ fees. The ink was dry on the term
sheet well before the FTC required an additional $70.5 million for consumers
and thus, class counsel’s fee should not be based on that increase.
      Second, the notice and administration costs should be excluded for
purposes of calculating attorneys’ fees. The notice and administration costs
are paid out of the $380.5 million Consumer Restitution Fund, but the total
amount of those costs is hidden from class members. Settlement 739-2 § 9.1.
Those costs will likely be no less than $25 million. See, e.g., In re Anthem, Inc.
Data Breach Litig., No. 5:15-md-02617-LHK, Dkt. 1047 at 15 (N.D. Cal. Aug.
16, 2018) (notice and administration costs of $23 million). Courts have


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recognized that the best approach is to calculate percentage-of-recovery after
expenses have been deducted from the settlement. In Redman v. RadioShack,
the Seventh Circuit explained:

             But the roughly $2.2 million in administrative costs should
             not have been included in calculating the division of the
             spoils between class counsel and class members. Those
             costs are part of the settlement but not part of the
             value received from the settlement by the members of
             the class. The costs therefore shed no light on the fairness
             of the division of the settlement pie between class counsel
             and class members.
768 F.3d at 630 (emphasis added); Pearson, 772 F.3d at 781 (such expenses
are “costs, not benefits”).
      Settlement notice is a benefit to the defendant, because without it, the
defendant does not meet due-process standards for enforcing the settlement
release. See e.g., Twigg v. Sears, Roebuck & Co., 153 F.3d 1222, 1226-29 (11th
Cir. 1998). Put simply, attorneys’ fees should be calculated based on the class
benefit and “fees paid to the settlement administrator—do[] not constitute a
benefit to the class members.” Myles v. AlliedBarton Security Svcs., LLC, No.
12-5761 JD, 2014 WL 6065602, at *5 (N.D. Cal. Nov. 12, 2014); Teachers’ Ret.
Sys. v. A.C.L.N., Ltd., No. 01-CV-11814 (MP), 2004 WL 1087261, at *7
(S.D.N.Y. May 14, 2004) (same). Indeed, if notice and administration
expenses are included when calculating attorneys’ fees, class counsel is being
awarded a commission on those costs. See Kmiec v. Powerwave Tech., No. 12-
00222-CJC, 2016 WL 5938709, at *5 (C.D. Cal. Jul. 11, 2016); Redman, 768
F.3d at 630. The settling parties should disclose the total amount of notice
and administration costs, see Fed. R. Civ. P. 23(e)(2)(C)(iv), and class counsel

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should not be awarded a commission on those costs.
      Third, the $385 million value that class counsel uses mistakenly treats
the credit monitoring as cash. Quite the opposite: “compensation in kind is
worth less than cash of the same nominal value.” In re Mexico Money
Transfer Litig., 267 F.3d 743, 748 (7th Cir. 2001). Indeed, the $385 million
covers the “costs” of credit monitoring. Settlement 739-2 §§ 5.1, 7.1. But the
“the standard [under Rule 23] is not how much money a company spends on
purported benefits, but the value of those benefits to the class.” In re
Bluetooth Headset Prods. Liab. Litig, 654 F.3d 935, 944 (9th Cir. 2011)
(cleaned up). Nor is the actual value to class members equal to the $1,920
“retail price” that class counsel estimates. See In re Anthem, 2018 WL
3960068, at *7 (rejecting “retail price” for valuing nonmonetary credit
monitoring). Instead, the actual value is no more than $5. The fact that class
members chose cash even after learning it would be “a very small amount”4
reveals that class members value the credit monitoring at no more than a few
dollars—not surprising given that many credit card companies offer credit
monitoring for free, and many other large data breach settlements have
already given class members credit monitoring. And many of the credit
monitoring recipients did not want credit monitoring. See Section III.B above.
If class members valued credit monitoring at retail price, they would have
already purchased it.
      For purposes of calculating attorneys’ fees, the value is $38M (cash for

      4
        See FTC Equifax Data Breach Settlement FAQ No. 5 available at
https://www.ftc.gov/enforcement/cases-proceedings/refunds/equifax-data-
breach-settlement#FAQ5.


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out-of-pocket) + $31M (alternative cash) + $15M (credit monitoring at $5 x
3M class members, Fee Request at 12) + $78.74M requested fees =
$162.74M.5 (Another $125M is hypothetically available in Settlement § 3.2,
but class counsel do not claim any of this money will be actually given to class
members.) Class counsel should be awarded 10% of the $162.7 million or
$16.27 million in fees and expenses, returning $62 million to class members.
Yes, this number is less than the purported lodestar, but (1) the lodestar is
greatly inflated by the inefficiency of the litigation (see Section IV.C below)
and the settlement value of less than $1-$2/class member reflects the size of
the class rather than an excellent result. The class is compromising its claims
dramatically (such that over 90% of the class will receive no pecuniary
compensation) and surrendering its statutory damages claims entirely, yet
class counsel is seeking an enormous multiplier of an inflated lodestar.

      C.    The Fee Request lacks basic information; the lodestar is
            inflated with 60 law firms; the Court should not award a
            multiplier.
      The Fee Request lacks basic information including who did what and
who seeks what. In re High Sulfur Content Gasoline Prod. Liab. Litig., 517
F.3d 220, 227 (5th Cir. 2008) (court must ensure that “fees are reasonable
and divided up fairly among plaintiffs’ counsel”). The four-page lodestar
submitted by class counsel includes only total hours by firm and hourly rates
for some of the timekeepers. Class Counsel Supp. Decl, Dkt. 858-1 at 83-84,

      5
        The $1 billion cybersecurity investment is properly excluded because
it benefits Equifax. See Koby v. ARS Natl. Services, Inc., 846 F.3d 1071, 1079
(9th Cir. 2017) (injunctive relief of business practices was “presumably to
avoid further litigation risk” and had no real settlement value).


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86-87. But without any billing records, class members are “handicapped in
objecting.” Redman, 768 F.3d at 638; see Martin v. Global Mktg. Research
Servs., 2016 U.S. Dist. LEXIS 101898 (M.D. Fla. Aug. 3, 2016). This showing
cannot even satisfy the bare minimum of “identify[ing] the general subject
matter of [their] time expenditures.” Hensley v. Eckerhart, 461 U.S. 424, 437
n.12 (1983); see also N.D. Ga. L. Civ. R. 54.2(A)(2) (“The movant shall file and
serve a detailed specification and itemization of the requested award…”).
“Generalized statements that the time spent was reasonable or unreasonable
are not particularly helpful and not entitled to much weight.” Norman v.
Housing Auth. of Montgomery, 836 F.2d 1292, 1301 (11th Cir. 1988).
       Billing records are particularly important here to assess the duplication
and overstaffing given that the lodestar outrageously includes time for 60
law firms totaling $20.9 million. Dkt. 858-1 at 83-84. Data-breach cases
seem to be especially prone to back-scratching overbilling like this. Editorial
Board, The Anthem Class-Action Con, Wall St. J. (Feb. 11, 2018). And based
on the minimal risk and inferior results, see Section IV.A, class counsel
cannot show “exceptional circumstances” to justify a multiplier greater than
one. See Perdue v. Kenny A., 130 S. Ct. 1662, 1669 (2010).
       Class counsel also asks for $6 million in fees for future administration.
This    is   similarly   unfounded:   administration   should    be   done   by
administrators, not by attorneys getting a blank check.

                                CONCLUSION

       The Court should deny approval. If it were to approve the settlement,
the Court should reduce fees to no more than 10% of the cash benefits
actually delivered to class members and return any reduction to the class.

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Dated: November 19, 2019.        /s/ Melissa A. Holyoak
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      I, Theodore H. Frank, personally attest that I have discussed the
foregoing Objection with my counsel and I have fully reviewed and endorse
the Objection.




Dated: November 18, 2019.          THEODORE H. FRANK
                                   Objector




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                        CERTIFICATE OF FONT

      I hereby certify that this Objection has been prepared in compliance
with Local Rules 5.1 and 7.1.


Dated: November 19, 2019.                            /s/ Melissa A. Holyoak




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                      CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was filed with this Court
via its CM/ECF service, which will send notification of such filing to all
counsel of record.

Dated: November 19, 2019.                            /s/ Melissa A. Holyoak




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